                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                       SAN ANTONIO DMSION

CLELL "JOHN" WINDHAM, III                                      §
    Plaintiff                                                  §
                                                               §
V.                                                             §
                                                               §      CASE NUMBER 5:20-cv-451
DANIEL RICHARD, JR., AVIOR                                     §      JURY
LOGISTICS, LLC and HARRISON 0.                                 §
OLULU, INDMDUALLY AND AS SOLE                                  §
PROPRIETOR OF AVIOR LOGISTICS,                                 §
LLC                                                            §
     Defendants                                                §

       DEFENDANTS', DANIEL RICHARD, JR., AVIOR LOGISTICS, LLC, AND
     HARRIZON OLULU, INDIVIDUALLY AND AS SOLE PROPRIETOR OF AVIOR
    LOGISTICS, LLC, NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(a)

           PLEASE TAKE NOTICE that Defendants, DANIEL RICHARD, JR., AVIOR

LOGISTICS, LLC, and HARRIZON OLULU, INDIVIDUALLY AND AS SOLE PROPRIETOR

OF AVIOR LOGISTICS, LLC hereby file this Notice of Removal of Action Under 28 U.S.C. §

1441(a) to remove to this Court the state court action described below:

                                                     BACKGROUND

            1.       Plaintiff is CLELL "JOHN" WINDHAM, III, a citizen of Texas residing in Bexar

County, Texas. 1

            2.       Defendant, AVIOR LOGISTICS, LLC has its primary place of business in Alabama.

Defendants HARRIZON OLULU and DANIEL RICHARD, JR. are citizens of Alabama.

            3.       On or about February 25, 2020 the state action was filed in the 224 th Judicial District

Court, Bexar County, Texas under Cause 2020-CI-03791; CLELL "JOHN" WINDHAM, Ill v.

DANIEL RICHARD, JR., AVIOR LOGISTICS, LLC, AND HARRIZON OLULU, INDIVIDUALLY



1
    See Plaintiff's Original Petition attached as Exhibit A.

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    AND AS SOLE PROPRIETOR OF AVIOR LOGISTICS, LLC. Defendants DANIEL RICHARD,

    JR., AVIOR LOGISTICS, LLC, AND HARRlZON OLULU, INDIVIDUALLY AND AS SOLE

    PROPRIETOR OF AVIOR LOGISTICS, LLC herein after "Defendants," file this Notice of

    Removal within thirty days of Defendants receiving notice of Plaintiffs' state court proceeding, as

    required by 28 U.S.C. § 1446 (b).

            4.      Plaintiff's Original Petition affirmatively asserts that he is seeking damages within

    the jurisdictional limits of the state court and not expressly limited to less than $75,000. 2

    Therefore, Plaintiff's sought after damages appear to be in excess of $75,000 as required for this

    Court to have jurisdiction. 3

            5.      Defendants have attached the required state court documents pursuant to 28 U.S.C.

    § 1446 (a). 4

            6.      As for venue, venue is proper in this District, the Western District of Texas, San

Antonio Division, under 28 U.S.C. § 1441 (a) and 28 U.S.C. § 1446 (a) because this District and

Division embrace the place where the removed action is pending.

            7.      Defendants will promptly file a copy of this Notice of Removal with the Clerk of

the state court where the action is pending. Defendants made a demand for trial by jury in the state

court action.

           8.       There is no named Co-Defendant in this action. Therefore, consent to removal from

any other defendant is not required in this proceeding.




2
  See Plaintiff's Original Petition attached as Exhibit A.
3
  See 28 U.S.C. § 1332 and§ 1441.
4
  State Court Docwnents attached as Exhibit B.

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                                              BASIS FOR REMOVAL

           9.      The Federal Court's basic diversity jurisdiction extends to "all civil actions where

    the matter in controversy exceeds the sum or value of $75,000, exclusive of interests and costs,

    and is between... citizens of different States. " 5 As set forth, this Court has original jurisdiction

    over this civil action pursuant 28 U.S.C. § 1332 and the action may therefore be removed to this

    Court pursuant to 28 U.S.C. § 144l(a) because:

                   a.      It is a civil action between a citizen of a State (Texas) and a corporation of

                           (principal place of business) and citizens of a different State (Alabama); and

                   b.      It is a civil action wherein the amount in controversy exceeds the sum of

                           $75,000, exclusive of costs and interest. 6

A.         Diversity of Citizenship

           10.     A civil case filed in state court may be removed by the defendant to Federal Court

if the case could have been brought originally in Federal Court. 7 Diversity jurisdiction requires

complete diversity; every plaintiff must be diverse from every defendant. 8 Defendant was

informed and believes that Plaintiff is at the time of filing this lawsuit, and still is, a citizen of the

State of Texas. Defendant, AVIOR LOGISTICS, LLC has its primary place of business in Alabama.

Defendants HARRIZON OLULU and DANIEL RICHARD, JR. are citizens of Alabama.

Therefore, there is complete diversity of citizenship between Plaintiffs and Defendants.

           B.     Amount in Controversy

           12.    Removal is proper when there is complete diversity of citizenship between the true



5
  28 U.S.C. § 1332(a)(l); see e.g., Darden v. Ford Consumer Fin. Co., 200 F.3d 753, 755 (I Ith Cir. 2000).
6
  See Plaintiff's Original Petition attached as Exhibit A.
7
  28 U.S.C. § 1332(a).
8
  28 U.S.C. § 1332; see e.g., Tapscottv. MS Dealer Service Corp., 77 F.3d 1353, 1359 (I Ith Cir.1996) (abrogated on
other ground by Cohen v. Office Depot, Inc., 204 F.3d 1069, 1076 (I Ith Cir. 2000) (overruling Tapscott on the issue
of calculating the amount in controversy in class action suits).

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parties to the lawsuit and the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000) exclusive of costs and interest. 9

         13.      In De Aguilar v. Boeing Co., 10 the United States Fifth Circuit Court of Appeals held

that when a defendant removes such a case, the defendant then has the burden to prove that the

amount in controversy exceeds the jurisdictional amount. 11 The De Aguilar Court went on to hold

that to remand to state court, the plaintiff must establish as a matter of law that, if successful, it

would not be able to recover more than the jurisdictional amount. 12

         13.     In determining whether the amount in controversy exceeds $75,000, courts must

consider the full litany of damages that a plaintiff is seeking, including statutory and punitive

damages. 13     Specifically, the court must consider penalties, statutory damages, and punitive

damages in calculating the amount in controversy. 14

         16.     As applied here, Defendants can meet their burden to prove that the amount in

controversy in this case exceeds the federal jurisdictional requirement of $75,000 based on the

language of Plaintiff's Original Petition.15 As discussed above, Plaintiff's Original Petition

affirmatively asserts that he is seeking damages within the jurisdictional limits of the state court

and not expressly limited to less than $75,000 16               Therefore, the evidence is sufficient for

Defendants to meet their burden to prove the amount in controversy removal requirement of

$75,000.

                                                 CONCLUSION




9
  28 U.S.C. § 1332(a).
10 47 F.3d 1404 (5th Cir.1995).
11
   De Aguilar v. Boeing Co., 47 F.3d 1404, 1411 (5th Cir. 1995).
i2 Id.
13
   St. Paul Reinsurance Co., Ltd. v. Greenberg, 134 F.3d 1250, 1253-55 (5th Cir. 1998).
14 Id.
15
   See Plaintiff's Original Petition.
i, Id.

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            17.      Based on diversity of citizenship and satisfaction of the amount in controversy

requirement, removal to Federal Court is proper. 17 Plaintiff is a citizen of the State of Texas and

Defendants are not citizens of the State of Texas. Diversity of citizenship is clear from the pleadings

and evidence.

           WHEREFORE PREMISES CONSIDERED, based on the Petition, evidence and the

diverse citizenships of the proper parties, this Court therefore has original jurisdiction of this action

under 28 U.S.C. § 1332 and removal of the action to this Court is proper under 28 U.S.C. § 1441 (a).

                                                      Respectfully submitted,


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                                                      ATTORNEY FOR DEFENDANTS, DANIEL
                                                      RICHARD, JR., AVIOR LOGISTICS, LLC, AND
                                                      HARRIZON OLULU, INDIVIDUALLY AND AS
                                                      SOLE PROPRIETOR OF AVIOR LOGISTICS




17
     28 U.S.C. § 1332(a); Darden, 200 F.3d at 755.

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                                   CERTIFICATE OF SERVICE

        This is to certify that a true and correct copy of the above and foregoing has been forwarded
to the following counsel of record in compliance with the Federal Rules of Civil Procedure on this
9th day of April, 2020.

       Via E-Service
       Mr. Philip G. Bernal
       JANICEKLAW
       1100 NE Loop 410, Suite 600
       San Antonio, TX 78209

                                                                Isl
                                                      LARRY J. GOLDMAN
                                                      VINCENTP.VASQUEZ


                                     VERIFICATION


STATE OF TEXAS                 §
                               §
COUNTY OF BEXAR                §

        BEFORE ME, the undersigned Notary Public, on this day personally appeared LARRY J.
GOLDMAN, who being by me duly sworn upon his oath, deposed and stated that he is the attorney
of record for DANIEL RICHARD, JR., AVIOR LOGISTICS, LLC, and HARRIZON OLULU,
INDIVIDUALLY AND AS SOLE PROPRIETOR OF AVIOR LOGISTICS, LLC, Defendants in
the above-entitled and numbered cause; that he has read the above NOTICE OF REMOVAL, and
that the allegations contained therein are within his personal knowledge and are true and correct.



                                                      LARRY J. GOLDMAN, Affiant



       SUBSCRIBED AND SWORN TO BEFORE ME, on this the 9th day of April, 2020, to certify
which witness my hand and official seal.




                                                      NOTARY PUBLIC
                                                      IN AND FOR THE STATE OF TEXAS


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